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Shellpoint Mortgage Servicing                             Phone Number:             (800) 365-7107
PO Box 10826                                              Fax:                      (866) 467-1137
                                                          Email: mtgbk@shellpointmtg.com
Greenville, SC 29603-0826



RE: Debtor 1 Dale M Williams
    Debtor 2
Case No:    1707522
PROOF OF SERVICE
I certify that a copy of the foregoing documents were served upon the following persons electronically or by mail via the U.S. Postal
Service, postage prepaid or by personal delivery, at their scheduled addresses on this day, 7/6/2018.

Middle District of Florida, Orlando Division
135 West Central Blvd.
Suite 950
Orlando, FL 32801




Michael A. Nardella
250 East Colonial Drive
Ste 102
Orlando, FL 32801

Dale M Williams

PO Box 768
Windermere FL 34786



/s/ Justin Alexander
